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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                                     BKY No. 17-41184

Ruby Red Dentata, LLC,

               Debtor.


                           DECLARATION OF MATTHEW D. SWANSON


I, Matthew D. Swanson, declare under penalty of perjury, that:
     1. I am one of the attorneys representing the Trustee, Randall L. Seaver, in the above
         captioned case.
     2. Attached hereto is a true and correct copy of an amended Commercial Purchase
         Agreement between the bankruptcy estate and North Fourth Minneapolis, LLC, executed
         by the buyer on October 4, 2019.




                                                   FULLER, SEAVER & SWANSON, P.A.


Executed on October 7, 2019                        /e/ Matthew D. Swanson _________
                                                   Matthew D. Swanson            390271
                                                   12400 Portland Avenue South, Suite 132
                                                   Burnsville, MN 55337
                                                   (952) 890-0888

                                                   Attorneys for Trustee
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